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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA

IN RE:                                                  CASE NO. 22-10014-BKC-SMG

LORENZO ALLEN, `                                        In proceedings under Chapter 13
                                                        FORT LAUDERDALE DIVISION
            Debtor.
_______________________________/

                           EMERGENCY HEARING REQUESTED

               DEBTOR’S MOTION TO REINSTATE THE CHAPTER 13 CASE

Basis for Emergency: The Debtor is in possession of a Final Judgment evidencing a
foreclosure sale on February 9, 2022. The Debtor will suffer permanent and irreparable
harm if the home is sold. The Debtor requests this matter be heard no later than February
8, 2022.

         COMES NOW, Lorenzo Allen, the Debtor, by and through undersigned counsel, and
moves this Court to Reinstate the Chapter 13 Case, and in support thereof states as grounds the
following:
         1. On January 3, 2022, the Debtor filed a voluntary chapter 13 bankruptcy under Title 11
of the United States Code.
         2. On January 27, 2022, the Court entered an Order Dismissing the case was dismissed
for failure to file the Chapter 13 Plan and other documents.
         3. The undersigned has filed all documents, and holding the first chapter 13 payment.
The filing fee to the clerk of court has been paid.
         4. Based on the foregoing, the Debtor wishes to reinstate the case and resolve his
liabilities.
         5. As of the date of this Motion, all the required documents have been filed with the
Court.
         6. The undersigned counsel pursuant to Local Rule 9013-1(E)(3)(a), certif ies
that the Debtor has tendered the sum necessary to the undersigned to bring his case
current under the modified plan as of the date of this Motion.
         WHEREFORE, the Debtor respectfully requests this Court to reinstate the Chapter 13

case.
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         I hereby certify that I am admitted to the Bar of the United States District Court of the
Southern District of Florida and I am in compliance with the additional qualifications to practice
in this Court as set forth in Local Rule 2090-1(A).

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